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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,                    Case No. 16-cr-340 (MJD/FLN)

                     Plaintiff,
v.                                           DEFENDANT NGUYEN MOTION TO
                                             DISMISS THE SUPERSEDING
Huy Ngoc Nguyen,                             INDICTMENT
Jerome Tarlve Doe,
Napoleon Tutex Deah,
Okwuchukwu Emmanuel
Jideofor,
Mimi Huu Doan, and
Quincy Chettupally,

                     Defendants.




       Defendant Huy Ngoc Nguyen, by and through his counsel, moves this Court under

the Fifth and Sixth Amendments to the United States Constitution, the Federal Rules of

Criminal Procedure 7(c) and 12(b)(3) and all other applicable constitutional provisions,

case law, and statutes for an Order dismissing the Indictment against the Defendant. As

grounds Defendant states the superseding indictment improperly intermixes allegations

that are not part of a scheme to defraud, so that a jury will be unable to determine what

fraud is properly alleged, running the risk that the jury will convict the defendant for

conduct that is not against that mail/wire fraud statutes. In the alternative, the defendant

moves the Court under Federal Rule of Criminal Procedure 7(d) for an Order striking

surplusage from the Indictment.
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      Defendant bases this motion on the Memorandum in Support of the motion, the

record and all other material that may come to this Court’s attention at the time of the

hearing on this motion.

                                               Respectfully submitted,

                                               KELLEY, WOLTER & SCOTT, P.A.

Dated: September 27, 2017                      /s/ Daniel M. Scott
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